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 4
     Attorney for Defendant
 5   SABRINA BUCHER
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                        IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                  EASTERN DISTRICT OF CALIFORNIA
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10
11 UNITED STATES OF AMERICA,
                                                       Case No. 08-CR-00554 WBS
12                  Plaintiff,

13 v.
                                                       MOTION FOR MODIFICATION OF
14                                                     BRIEFING AND HEARING SCHEDULE
     SABRINA BUCHER, et al.                            PERTAINING TO MOTION TO DISMISS;
15                                                     STIPULATION AND [PROPOSED] ORDER
                    Defendants.
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18
19                                             STIPULATION
20          Plaintiff, United States of America, by and through its counsel, Assistant United States
21   Attorney William S. Wong and defendant, Sabrina Bucher, by and through her counsel, Erin J.
22   Radekin, agree and stipulate to vacate the date set for hearing on the motion to dismiss based on
23   violation of the Speedy Trial Act, March 8, 2010 at 8:30 a.m., and to reset such hearing on March
24   22, 2010 at 8:30 a.m. in the courtroom of the Honorable William B. Shubb.
25          The parties further agree and stipulate to modify the briefing schedule pertaining to the
26   motion to dismiss as follows:
27          Defendant’s motion to dismiss                                February 26, 2010
28          Government’s opposition                                      March 12, 2010
            Defendant’s reply                                            March 19, 2010
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 1             The reason for this request is to afford the parties additional time to meet and discuss
 2   possible resolution of this case which may make filing of the motion to dismiss unnecessary. The
 3   Court is further advised that should the parties come to an agreement regarding such resolution the
 4   parties will notify the Court and file any further stipulation as appropriate. The Court is advised that
 5   Mr. Wong concurs with this request and has authorized Ms. Radekin to sign this stipulation on his
 6   behalf.
 7             The parties further agree and stipulate that the time period from the filing of this stipulation
 8   until March 22, 2010 should be excluded in computing time for commencement of trial under the
 9   Speedy Trial Act, to allow the filing and litigation of a pre-trial motion and based upon the interest
10   of justice under 18 U.S.C. §§ 3161(h)(1)(D) and (h)(7)(B)(iv), and to allow continuity of counsel
11   and to allow reasonable time necessary for effective defense preparation under Local Code T4. It is
12   further agreed and stipulated that the ends of justice served in granting the request outweigh the best
13   interests of the public and the defendant in a speedy trial.
14             Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
15   IT IS SO STIPULATED
16
     Dated: February 12, 2010                                   BENJAMIN WAGNER
17                                                              United States Attorney
18                                                       By:          /s/ William S. Wong
                                                                WILLIAM S. WONG
19                                                              Assistant United States Attorney
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21   Dated: February 12, 2010                                         /s/ Erin J. Radekin
                                                                ERIN J. RADEKIN
22                                                              Attorney for Defendant
                                                                SABRINA BUCHER
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 1                                                   ORDER
 2          For the reasons set forth in the accompanying stipulation and declaration of counsel, the date
 3   set for hearing on the motion to dismiss of March 8, 2010 at 8:30 a.m. is VACATED and the hearing
 4   on such motion is set on March 22, 2010 at 8:30 a.m. The court finds excludable time in this matter
 5   from the filing of this stipulation through March 22, 2010 under 18 U.S.C. §§ 3161(h)(1)(D),
 6   (h)(7)(B)(iv) and Local Code T4, to allow continuity of counsel and to allow reasonable time
 7   necessary for effective defense preparation and the filing and litigation of pre-trial motions. For the
 8   reasons stipulated by the parties, the Court finds that the interest of justice served by granting the
 9   request outweigh the best interests of the public and the defendant in a speedy trial. 18 U.S.C.
10   3161(h)(1)(D), (h)(7)(B)(iv).
11          IT IS FURTHER ORDERED that the briefing schedule pertaining to the motion to dismiss is
12   modified as follows:
13          Defendant’s motion to dismiss                                  February 26, 2010
14          Government’s opposition                                        March 12, 2010
15          Defendant’s reply                                              March 19, 2010
16   IT IS SO ORDERED.
17   Dated: February 12, 2010
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